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1
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     Attorney for Plaintiff

7                      UNITED STATES DISTRICT COURT
8                     CENTRAL DISTRICT OF CALIFORNIA
9
       LANA HULEIS, individually and on                         Case No.:
                                                                2:20-cv-11400
10     behalf of all others similarly situated,
       Plaintiff,
11                                                              NOTICE OF VOLUNTARY
       vs.
                                                                DISMISSAL OF ENTIRE
12     SURF CITY AUTO GROUP, INC., and
                                                                ACTION WITHOUT
13     DOES 1 through 10, inclusive,                            PREJUDICE.
14
       Defendants.

15
           NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of
16
     Civil Procedure 41(a)(1), hereby voluntarily dismisses this action without
17
     prejudice. Defendant has neither answered Plaintiff’s Complaint, nor filed a
18
     motion for summary judgment. Accordingly, this matter may be dismissed
19
     without prejudice and without an Order of the Court.
20

21         Respectfully submitted this 27th Day of January, 2021.
22
                                            By: s/Todd M. Friedman Esq.
23                                               Todd M. Friedman
24                                              Attorney For Plaintiff
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                                      Notice of Dismissal - 1
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1                       CERTIFICATE OF SERVICE
2
     Filed electronically on January 27, 2021, with:
3

4    United States District Court CM/ECF system
5
     Notification sent electronically on January 27, 2021, to:
6

7
     To the Honorable Court, all parties and their Counsel of Record

8

9    s/ Todd M. Friedman
10
       Todd M. Friedman
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                                       Notice of Dismissal - 2
